            Case 2:18-cv-00148-jmc Document 1 Filed 09/14/18 Page 1 of 3

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                                                                                                         ::: i i"r,l
                                  LINITED STATES DISTRICT COURT                                         I    r!_:*Ll


                                              FOR THE
                                       DISTRICT OF VERMONT                                ?$lE   StP         llr        fiH g: 12


LINITED STATES OF AMERICA,
                 Plaintiff
                                                                                           *,*w- i:i:,i:i;
                                                                                                             '-.,,
                                                                                                                       ,lt   ifiii
                 v.                                                    Docket No.      ?.t8-cv-lq8
ROBERT BONNELL,
                           Defendant.



                                                 COMPLAINT

         The United States of America, by its attomey, Christina E. Nolan, United States Attomey

for the District of Vermont, respectfully submits its Complaint against defendant, Robert

Bonnell, and hereby alleges the following:

                                     Parties. Jurisdiction. and Venue

         1. Plaintiff, the United    States of America, is proceeding in its sovereign capacity.

         2. The Defendant, Robert Bonnell,         resides at 103   Mills Drive, Bethel, Vermont 05032.

         3. Jurisdiction   is proper under 28     u.s.c. g 1345 and42 u.s.c.      g   a0a(a)(1)(A).

         4. Venue     is proper in this   judicial district under 28 U.S.C. $ 1391(b) since Robert

Bonnell resides in this judicial district.

                                                      Facts

         5. The Defendant is indebted to the United           States in the principal amount of $15,949.00.

See   Exhibit A, attached hereto and incorporated herein by reference.

         6. The Defendant received Title II disability payments from the United             States Social

Security Administration ("S ocial Security'').
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        7. On or around June 7, 2013, Social Security      sent notice to Robert Bonnell that his

employment, beginning in October 2011, ceased his entitlement to continuing disability benefits.

        8. The cessation of Robert Bonnell's right to disability benefits during his employment

resulted in an overpayment of $15,949.00 in Social Security benefits.

        9. On July 25,2017 , Social Security     made a final demand on Robert Bonnell for      full

repa5rment, but the amount due remains unpaid.


                                            Cause of Action

        10. The Social Security Act provides that "[w]ith respect to pa5rment to a person of more

than the correct amount, the Commissioner of Social Security shall...require such overpaid

person or his estate to refund the amount in excess of the correct amountf.]" 42 U.S.C.     $

aOa(a)(1)(A).

        I   1. The United   States is entitled to recover paynnents made to Robert Bonnell based on

the mistaken fact that he was entitled to receive Title   II disability benefits.

        72. After crediting all past payments and offsets, Robert Bonnell is indebted to the

United States for the amount of $15,949.00 in overpayrnents of social security benefits to Robert

Bonnell.

       WHEREFORE, the United States demands judgment against the Defendant for:

       1)        the amount of $15,949.00;

       2)        costs ofthese proceedings;

       3)        post-judgment interest, pursuant to 28 U.S.C.    $   1961; and

       4)        any further relief the Court deems proper
   Case 2:18-cv-00148-jmc Document 1 Filed 09/14/18 Page 3 of 3



Dated at Burlington, in the District of Vermont, this 14th day of September, 2018.




                                                     Respectfully submitted,

                                                     LINITED STATES OF AMERICA

                                                     CHRISTINA E. NOLAN
                                                     United States Attorney


                                              8y,1./-4kLL OrL                      Ro, aldn
                                                    MELISSA A.D. RANALDO
                                                    Assistant U.S. Attomey
                                                    P.O. Box 570
                                                    Burlington, YT 05402-0570
                                                    (802) est-672s
                                                     Meli   ssa.   Ranaldo@usdoj . gov
          Case 2:18-cv-00148-jmc Document 1-1 Filed 09/14/18 Page 1 of 2




                         SOCIAL SECURITY ADMINISTMTION
                          OFFICE OF CENTRAL OPERATIONS
                                 15OO WOODTAWN DR
                            BALTI MORE, MARYIAND 2124'I


                           CERTI FICATE OF INDEBTEDNESS


Claim No. XXX-XX-7014

Debtor Name and Address:
ROBERT G BONNELL
103 MILLS DRIVE
BETHEL, VE 05032


Total debt due to the United States as of September 13,2018 is $15,949.00

             the Social Security Administration records show that the debtor named above
I certify that
is indebted to the United States in the amount stated above.

The claim arose in connection with an ovemayment of Social Security benefits.

Section 204(fX1) of the Social Security Act provides that, with the respect to any delinquent
amount owed by an individual, the Commissioner of Social Security may use the collection
practices described in Sections 3711(f),3716,3717 and 3718 of Title 31, United States
Code, and in section 5514 of Title 5 United Strates Code, all as in effect immediately after
the enactment of the debt Collection improvement Act of 1996.

Section 216(i) of the Social Security Act, as pertinent here, provides for the establishment
of a period of disability that shall begin on the day that the disability begins. Section 223
of the Social Security Act, as pertinent here, provides for the payment of disability
insurance benefits untilthe termination month. As amended in 1965, both sections define
"disability" (except for certain cases of blindness) as an inability to engage in any
substantial gainful activity by reason of any medically determinable physical or mental
impairment which can be expected to result in death or which has lasted or can be
expected to last for a continuous period of not less than 12 months.

Section 223(a)(1) of the Act, as pertinent here, states that the termination month shall be
the third month following the earliest month in which an individualengages or is determined
able to engage in substantial gainful activity.

Section 223(e) of the Act, as pertinent here, states that no benefit shall be payable to an
individual for any month, after the third month, in which he engages in substantial gainful
activity during the 36-month period following the end of his trialwork period.

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       Case 2:18-cv-00148-jmc Document 1-1 Filed 09/14/18 Page 2 of 2




Our Records show that Robert G. Bonnell was paid benefits when he was not entitled to
them due to his work and earnings from October 2A11 through June of 2013.

Our records indicate the debtor returned to work and had the following earnings:
$12,498.21 in 2011, $27,897.09 in 2012 and $27,620.U in 2013. The debtor continued to
collect Social Security disability payments from October 2011 through June 2013 while
earning over the allowable amount as shown above.

The claimant has been receiving Disability benefits for many years and is aware of our
rules. The claimant was previously overpaid in 2001 ,2002-2003, and 2OO4-20O5 and our
office provided a detailed explanation of reporting responsibilities when he first was
overpaid prior to 2011.




CERTIFICATION: Pursuant to 28 USC Section 1746,1 certifu under penalty of perjury that
  foregoing is true and correct.
            r-l Anl
Claims
Jamie Lucero
Associate Commissioner
Office of Central Operations

Date: September 13, 2018
                                           Case 2:18-cv-00148-jmc Document 1-2 Filed 09/14/18 Page 1 of 1
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 I. (a) PLAINTIFFS                                                                                                                   DEFENDANTS
                                                     United States of America                                                                    Robert Bonnell


             (b)   County of Residence of First Listed Plaintiff                                                                     County of Residence of First Listed Defendant Windsof
                                      (EXCEPT IN U.S. PLAINTIFF                    CASES)                                                                   (IN U.S. PL\INTIFF CASES ONLT)
                                                                                                                                     NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                                   TIIE TRACT OF LAND INVOLVED,

         (C)       Attomeys (Firm      Name, Address, and Telephone Numbu)                                                           Attomeys (IfKnown)
Melissa A.D. Ranaldo, AUSA, U.S. Attorney's Office, p.O. Box 570,
Burlington, VT 05402, (802) 951-6725


U. BASIS OF JURISDICTION rpr,.u,,                                                 in One   Bu On$)                  UI. CITIZENSHIP OF PRINCIPAL PARTIES                                                 (ptace an    "x"   in one   Btfor ptaintiff
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O2 U.S.Govement                                    34       Divusity                                                      CitizenofAlotherstate a 2                      il         Incorporated and Principal Place            D 5        D   5
     Defendmt                                                    qnrlicqte Citi;eilship of pottis in ltem   III)                                                                       ofBusiness ln Another State

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t'       lzl0 Negotiable Instrment                     Liability        tr 367 Health Cre/                                                                                                                D    430 Banks md Barking
tr       I 50 Recovery of Overpaymmt           tr 320 Assault, Libel &         Pharuceutical                                                                                                              il   450 Comerce
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3        160 Stockholdss' Suits                3 355 Motor Vehicle      3 371 Truth in Lending    0 720 Labor,&{anagement                                          D 863 DrwC/DIww (40s(g))               !l   890   Other StatutoryActions
D        l90OthtrContract                             Product Liability 0 380 Other   persoml           Relations                                                  D 864 SSID Title XVI                   O    891   Ag:iculturalActs
J        195 Contract Product Liability        I 360 Other Pqsoml              Propqty Dmge         740 Railway Labor Act                                              86s Rsr (aosG))                    0    893   Enviromental Mattfrs
il       196 Frmchise                                 Injury            D 385 Property Dmge         751 FmilymdMedical                                                                                    D    895   Freedom of      Infomtion
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C    220 Foreclosue                            3 .l4l Voting                          f,   463 Alien Detainee                                                              or DefendmQ                             Agency Decision
3    230 Rent Lerue & Ejectrnent               3 ,142 Emplolment                      3    510 Motions to Vacare                                                  O    871   IRS-Third Party              D    950 Constitutionality of
il   240 Tons to Lmd                           3 443 Housing/                                  Sentence                                                                       26 USC 7609                            State Statutes
ll   24-5 Ton Product Liability                           Accommodatiom               3    530 General
3    290 All Other Real Property               O   ,145   Amer. lv,lDisabilities -    3    535DeathPenalty
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                                                     Cite the U.S. Civil Statute under which you are filiag (Do not                   cite   jurisdictional statutes unless divercigt)'.
                             42 U.S.C.404(aXlXA)
VI.           CAUSE OFACTION Brief
                                   description of cause:
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vrr.REQ                                  IN                 CHECK IF THIS IS A CLASS ACTION                                   DEN{AND $                                         CHECK YES only if demnded in complaint:
               COMPLAINT:                                   UNDER RULE 23, F.R.Cv.P.                                            15,949.00                                       JURYDEI\IAND: DYes XUo
VIII.              RELATED CASE(S)
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